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                                        4 Los Angeles, CA 90067-2915
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                                        5 Facsimile: 424.204.4350
                                        6 Attorneys for Defendant
                                          Citibank, N.A.
                                        7
                                        8                           UNITED STATES DISTRICT COURT
                                        9                          CENTRAL DISTRICT OF CALIFORNIA
                                       10 ALEXANDER J. CARROLL, an                         Case no. 2:23-CV-08787-ODW (PDx)
                                          Individual,
                                       11
                                                                   Plaintiffs,             STIPULATED PROTECTIVE
Los Angeles, California 90067-2915
2029 Century Park East, Suite 1400




                                       12                                                  ORDER
                                                v.
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                                       13                                                  Honorable Otis D. Wright II
                                          CITIBANK, N.A. dba CITICARDS
                                       14 CBNA a business entity, form unknown,
                                          EXPERICAN INFORMATION
                                       15 SOLUTIONS INC., is a business entity,
                                          INFORMATION SERVICES, LLC, is a
                                       16 business entity, form unknown,
                                          TRANSUNION, LLC, a business entity,
                                       17 form unknown and DOES 1-25,
                                          Inclusive,
                                       18
                                                                   Defendants.
                                       19
                                       20
                                       21 1.         A. PURPOSES AND LIMITATIONS
                                       22            Discovery in this action is likely to involve production of confidential,
                                       23 proprietary, or private information for which special protection from public
                                       24 disclosure and from use for any purpose other than prosecuting this litigation may
                                       25 be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
                                       26 enter the following Stipulated Protective Order. The parties acknowledge that this
                                       27 Order does not confer blanket protections on all disclosures or responses to
                                       28 discovery and that the protection it affords from public disclosure and use extends

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                                        1 only to the limited information or items that are entitled to confidential treatment
                                        2 under the applicable legal principles. The parties further acknowledge, as set forth
                                        3 in Section 12.3, below, that this Stipulated Protective Order does not entitle them
                                        4 to file confidential information under seal; Civil Local Rule 79-5 sets forth the
                                        5 procedures that must be followed and the standards that will be applied when a
                                        6 party seeks permission from the court to file material under seal.
                                        7            B.        GOOD CAUSE STATEMENT
                                        8            This action is likely to involve financial, technical and/or proprietary
                                        9 information for which special protection from public disclosure and from use for
                                       10 any purpose other than prosecution of this action is warranted. Such confidential
                                       11 and proprietary materials and information consist of, among other things,
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                                       12 confidential business or financial information, information regarding confidential
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                                       13 business practices, or other confidential research, development, or commercial
                                       14 information (including information implicating privacy rights of third parties),
                                       15 information otherwise generally unavailable to the public, or which may be
                                       16 privileged or otherwise protected from disclosure under state or federal statutes,
                                       17 court rules, case decisions, or common law. Accordingly, to expedite the flow of
                                       18 information, to facilitate the prompt resolution of disputes over confidentiality of
                                       19 discovery materials, to adequately protect information the parties are entitled to
                                       20 keep confidential, to ensure that the parties are permitted reasonable necessary uses
                                       21 of such material in preparation for and in the conduct of trial, to address their
                                       22 handling at the end of the litigation, and serve the ends of justice, a protective order
                                       23 for such information is justified in this matter. It is the intent of the parties that
                                       24 information will not be designated as confidential for tactical reasons and that
                                       25 nothing be so designated without a good faith belief that it has been maintained in
                                       26 a confidential, non-public manner, and there is good cause why it should not be
                                       27 part of the public record of this case.
                                       28

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                                        1 2.         DEFINITIONS
                                        2            2.1       Action: As captioned above: Carroll v. Citibank et al., 2:23-CV-
                                        3 08787-ODW (PDX).
                                        4            2.2       Challenging Party: a Party or Non-Party that challenges the
                                        5 designation of information or items under this Order.
                                        6            2.3       “CONFIDENTIAL” Information or Items: information (regardless of
                                        7 how it is generated, stored or maintained) or tangible things that qualify for
                                        8 protection under Federal Rule of Civil Procedure 26(c), and as specified above in
                                        9 the Good Cause Statement.
                                       10            2.4       Counsel: Outside Counsel of Record and House Counsel (as well as
                                       11 their support staff).
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                                       12            2.5       Designating Party: a Party or Non-Party that designates information or
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                                       13 items that it produces in disclosures or in responses to discovery as
                                       14 “CONFIDENTIAL.”
                                       15            2.6       Disclosure or Discovery Material: all items or information, regardless
                                       16 of the medium or manner in which it is generated, stored, or maintained (including,
                                       17 among other things, testimony, transcripts, and tangible things), that are produced
                                       18 or generated in disclosures or responses to discovery in this matter.
                                       19            2.7       Expert: a person with specialized knowledge or experience in a matter
                                       20 pertinent to the litigation who has been retained by a Party or its counsel to serve
                                       21 as an expert witness or as a consultant in this Action.
                                       22            2.8       House Counsel: attorneys who are employees of a party to this Action.
                                       23 House Counsel does not include Outside Counsel of Record or any other outside
                                       24 counsel.
                                       25            2.9       Non-Party: any natural person, partnership, corporation, association,
                                       26 or other legal entity not named as a Party to this action.
                                       27            2.10 Outside Counsel of Record: attorneys who are not employees of a
                                       28 party to this Action but are retained to represent or advise a party to this Action

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                                        1 and have appeared in this Action on behalf of that party or are affiliated with a law
                                        2 firm which has appeared on behalf of that party, and includes support staff.
                                        3            2.11 Party: any party to this Action, including all of its officers, directors,
                                        4 employees, consultants, retained experts, and Outside Counsel of Record (and their
                                        5 support staffs).
                                        6            2.12 Producing Party: a Party or Non-Party that produces Disclosure or
                                        7 Discovery Material in this Action.
                                        8            2.13 Professional Vendors: persons or entities that provide litigation
                                        9 support services (e. g., photocopying, videotaping, translating, preparing exhibits
                                       10 or demonstrations, and organizing, storing, or retrieving data in any form or
                                       11 medium) and their employees and subcontractors.
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                                       12            2.14 Protected Material: any Disclosure or Discovery Material that is
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                                       13 designated as “CONFIDENTIAL.”
                                       14            2.15 Receiving Party: a Party that receives Disclosure or Discovery
                                       15 Material from a Producing Party.
                                       16 3.         SCOPE
                                       17            The protections conferred by this Stipulation and Order cover not only
                                       18 Protected Material (as defined above), but also (1) any information copied or
                                       19 extracted from Protected Material; (2) all copies, excerpts, summaries, or
                                       20 compilations of Protected Material; and (3) any testimony, conversations, or
                                       21 presentations by Parties or their Counsel that might reveal Protected Material.
                                       22            Any use of Protected Material at trial shall be governed by the orders of the
                                       23 trial judge. This Order does not govern the use of Protected Material at trial.
                                       24 4.         DURATION
                                       25            Even after final disposition of this litigation, the confidentiality obligations
                                       26 imposed by this Order shall remain in effect until a Designating Party agrees
                                       27 otherwise in writing or a court order otherwise directs. Final disposition shall be
                                       28 deemed to be the later of (1) dismissal of all claims and defenses in this Action,

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                                        1 with or without prejudice; and (2) final judgment herein after the completion and
                                        2 exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
                                        3 including the time limits for filing any motions or applications for extension of
                                        4 time pursuant to applicable law.
                                        5 5.         DESIGNATING PROTECTED MATERIAL
                                        6            5.1       Exercise of Restraint and Care in Designating Material for Protection.
                                        7 Each Party or Non-Party that designates information or items for protection under
                                        8 this Order must take care to limit any such designation to specific material that
                                        9 qualifies under the appropriate standards. The Designating Party must designate for
                                       10 protection only those parts of material, documents, items, or oral or written
                                       11 communications that qualify so that other portions of the material, documents,
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                                       12 items, or communications for which protection is not warranted are not swept
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                                       13 unjustifiably within the ambit of this Order.
                                       14            Mass, indiscriminate, or routinized designations are prohibited. Designations
                                       15 that are shown to be clearly unjustified or that have been made for an improper
                                       16 purpose (e.g., to unnecessarily encumber the case development process or to
                                       17 impose unnecessary expenses and burdens on other parties) may expose the
                                       18 Designating Party to sanctions.
                                       19            If it comes to a Designating Party’s attention that information or items that it
                                       20 designated for protection do not qualify for protection, that Designating Party must
                                       21 promptly notify all other Parties that it is withdrawing the inapplicable designation.
                                       22            5.2       Manner and Timing of Designations. Except as otherwise provided in
                                       23 this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
                                       24 stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
                                       25 under this Order must be clearly so designated before the material is disclosed or
                                       26 produced.
                                       27
                                       28

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                                        1            Designation in conformity with this Order requires:
                                        2                      (a)   for information in documentary form (e.g., paper or electronic
                                        3 documents, but excluding transcripts of depositions or other pretrial or trial
                                        4 proceedings), that the Producing Party affix at a minimum, the legend
                                        5 “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
                                        6 contains protected material. If only a portion or portions of the material on a page
                                        7 qualifies for protection, the Producing Party also must clearly identify the
                                        8 protected portion(s) (e. g., by making appropriate markings in the margins).
                                        9            A Party or Non-Party that makes original documents available for inspection
                                       10 need not designate them for protection until after the inspecting Party has indicated
                                       11 which documents it would like copied and produced. During the inspection and
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                                       12 before the designation, all of the material made available for inspection shall be
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                                       13 deemed “CONFIDENTIAL.” After the inspecting Party has identified the
                                       14 documents it wants copied and produced, the Producing Party must determine
                                       15 which documents, or portions thereof, qualify for protection under this Order.
                                       16 Then, before producing the specified documents, the Producing Party must affix
                                       17 the “CONFIDENTIAL legend” to each page that contains Protected Material. If
                                       18 only a portion or portions of the material on a page qualifies for protection, the
                                       19 Producing Party also must clearly identify the protected portion(s) (e.g., by making
                                       20 appropriate markings in the margins).
                                       21                      (b)   for testimony given in depositions that the Designating Party
                                       22 identify the Disclosure or Discovery Material on the record, before the close of the
                                       23 deposition all protected testimony.
                                       24                      (c)   for information produced in some form other than documentary
                                       25 and for any other tangible items, that the Producing Party affix in a prominent
                                       26 place on the exterior of the container or containers in which the information is
                                       27 stored the legend “CONFIDENTIAL.” If only a portion or portions of the
                                       28

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                                        1 information warrants protection, the Producing Party, to the extent practicable,
                                        2 shall identify the protected portion(s).
                                        3            5.3       Inadvertent Failures to Designate. If timely corrected, an inadvertent
                                        4 failure to designate qualified information or items does not, standing alone, waive
                                        5 the Designating Party’s right to secure protection under this Order for such
                                        6 material. Upon timely correction of a designation, the Receiving Party must make
                                        7 reasonable efforts to assure that the material is treated in accordance with the
                                        8 provisions of this Order.
                                        9 6.         CHALLENGING CONFIDENTIALITY DESIGNATIONS
                                       10            6.1       Timing of Challenges. Any Party or Non-Party may challenge a
                                       11 designation of confidentiality at any time that is consistent with the Court’s
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                                       12 Scheduling Order.
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                                       13            6.2       Meet and Confer. The Challenging Party shall initiate the dispute
                                       14 resolution process under Local Rule 37.1 et seq.
                                       15            6.3       The burden of persuasion in any such challenge proceeding shall be
                                       16 on the Designating Party. Frivolous challenges, and those made for an improper
                                       17 purpose (e.g., to harass or impose unnecessary expenses and burdens on other
                                       18 parties) may expose the Challenging Party to sanctions. Unless the Designating
                                       19 Party has waived or withdrawn the confidentiality designation, all parties shall
                                       20 continue to afford the material in question the level of protection to which it is
                                       21 entitled under the Producing Party’s designation until the Court rules on the
                                       22 challenge.
                                       23 7.         ACCESS TO AND USE OF PROTECTED MATERIAL
                                       24            7.1       Basic Principles. A Receiving Party may use Protected Material that is
                                       25 disclosed or produced by another Party or by a Non-Party in connection with this
                                       26 Action only for prosecuting, defending, or attempting to settle this Action. Such
                                       27 Protected Material may be disclosed only to the categories of persons and under
                                       28 the conditions described in this Order. When the Action has been terminated, a

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                                        1 Receiving Party must comply with the provisions of section 13 below (FINAL
                                        2 DISPOSITION).
                                        3            Protected Material must be stored and maintained by a Receiving Party at a
                                        4 location and in a secure manner that ensures that access is limited to the persons
                                        5 authorized under this Order.
                                        6            7.2       Disclosure of “CONFIDENTIAL” Information or Items. Unless
                                        7 otherwise ordered by the court or permitted in writing by the Designating Party, a
                                        8 Receiving Party may disclose any information or item designated
                                        9 “CONFIDENTIAL” only to:
                                       10                      (a)   the Receiving Party’s Outside Counsel of Record in this Action,
                                       11 as well as employees of said Outside Counsel of Record to whom it is reasonably
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                                       12 necessary to disclose the information for this Action;
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                                       13                      (b)   the officers, directors, and employees (including House
                                       14 Counsel) of the Receiving Party to whom disclosure is reasonably necessary for
                                       15 this Action;
                                       16                      (c)   Experts (as defined in this Order) of the Receiving Party to
                                       17 whom disclosure is reasonably necessary for this Action and who have signed the
                                       18 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                       19                      (d)   the court and its personnel;
                                       20                      (e)   court reporters and their staff;
                                       21                      (f)   professional jury or trial consultants, mock jurors, and
                                       22 Professional Vendors to whom disclosure is reasonably necessary for this Action
                                       23 and who have signed the “Acknowledgment and Agreement to Be Bound”
                                       24 (Exhibit A);
                                       25                      (g)   the author or recipient of a document containing the
                                       26 information or a custodian or other person who otherwise possessed or knew the
                                       27 information;
                                       28

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                                        1                      (h)   during their depositions, witnesses, and attorneys for witnesses,
                                        2 in the Action to whom disclosure is reasonably necessary provided: (1) the
                                        3 deposing party requests that the witness sign the form attached as Exhibit 1 hereto;
                                        4 and (2) they will not be permitted to keep any confidential information unless they
                                        5 sign the “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless
                                        6 otherwise agreed by the Designating Party or ordered by the court. Pages of
                                        7 transcribed deposition testimony or exhibits to depositions that reveal Protected
                                        8 Material may be separately bound by the court reporter and may not be disclosed
                                        9 to anyone except as permitted under this Stipulated Protective Order; and
                                       10                      (i)   any mediator or settlement officer, and their supporting
                                       11 personnel, mutually agreed upon by any of the parties engaged in settlement
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                                       12 discussions.
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                                       13 8.         PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
                                       14            IN OTHER LITIGATION
                                       15            If a Party is served with a subpoena or a court order issued in other litigation
                                       16 that compels disclosure of any information or items designated in this Action as
                                       17 “CONFIDENTIAL,” that Party must:
                                       18                      (a)   promptly notify in writing the Designating Party. Such
                                       19 notification shall include a copy of the subpoena or court order;
                                       20                      (b)   promptly notify in writing the party who caused the subpoena
                                       21 or order to issue in the other litigation that some or all of the material covered by
                                       22 the subpoena or order is subject to this Protective Order. Such notification shall
                                       23 include a copy of this Stipulated Protective Order; and
                                       24                      (c)   cooperate with respect to all reasonable procedures sought to be
                                       25 pursued by the Designating Party whose Protected Material may be affected.
                                       26            If the Designating Party timely seeks a protective order, the Party served
                                       27 with the subpoena or court order shall not produce any information designated in
                                       28 this action as “CONFIDENTIAL” before a determination by the court from which

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                                         1 the subpoena or order issued, unless the Party has obtained the Designating Party’s
                                         2 permission. The Designating Party shall bear the burden and expense of seeking
                                         3 protection in that court of its confidential material and nothing in these provisions
                                         4 should be construed as authorizing or encouraging a Receiving Party in this Action
                                         5 to disobey a lawful directive from another court.
                                         6 9.         A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
                                         7            PRODUCED IN THIS LITIGATION
                                         8                      (a)   The terms of this Order are applicable to information produced
                                         9 by a Non-Party in this Action and designated as “CONFIDENTIAL.” Such
                                        10 information produced by Non-Parties in connection with this litigation is protected
                                        11 by the remedies and relief provided by this Order. Nothing in these provisions
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                                        12 should be construed as prohibiting a Non-Party from seeking additional
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                                        13 protections.
                                        14                      (b)   In the event that a Party is required, by a valid discovery
                                        15 request, to produce a Non-Party’s confidential information in its possession, and
                                        16 the Party is subject to an agreement with the Non-Party not to produce the Non-
                                        17 Party’s confidential information, then the Party shall:
                                        18                            (1)   promptly notify in writing the Requesting Party and the
                                        19 Non-Party that some or all of the information requested is subject to a
                                        20 confidentiality agreement with a Non-Party;
                                        21                            (2)   promptly provide the Non-Party with a copy of the
                                        22 Stipulated Protective Order in this Action, the relevant discovery request(s), and a
                                        23 reasonably specific description of the information requested; and
                                        24                            (3)   make the information requested available for inspection
                                        25 by the Non-Party, if requested.
                                        26                      (c)   If the Non-Party fails to seek a protective order from this court
                                        27 within 14 days of receiving the notice and accompanying information, the
                                        28 Receiving Party may produce the Non-Party’s confidential information responsive

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                                         1 to the discovery request. If the Non-Party timely seeks a protective order, the
                                         2 Receiving Party shall not produce any information in its possession or control that
                                         3 is subject to the confidentiality agreement with the Non-Party before a
                                         4 determination by the court. Absent a court order to the contrary, the Non-Party
                                         5 shall bear the burden and expense of seeking protection in this court of its
                                         6 Protected Material.
                                         7 10.        UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                                         8            If a Receiving Party learns that, by inadvertence or otherwise, it has
                                         9 disclosed Protected Material to any person or in any circumstance not authorized
                                        10 under this Stipulated Protective Order, the Receiving Party must immediately (a)
                                        11 notify in writing the Designating Party of the unauthorized disclosures, (b) use its
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                                        12 best efforts to retrieve all unauthorized copies of the Protected Material, (c) inform
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                                        13 the person or persons to whom unauthorized disclosures were made of all the terms
                                        14 of this Order, and (d) request such person or persons to execute the
                                        15 “Acknowledgment and Agreement to Be Bound” that is attached hereto as
                                        16 Exhibit A.
                                        17 11.        INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
                                        18            PROTECTED MATERIAL
                                        19            When a Producing Party gives notice to Receiving Parties that certain
                                        20 inadvertently produced material is subject to a claim of privilege or other
                                        21 protection, the obligations of the Receiving Parties are those set forth in Federal
                                        22 Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
                                        23 whatever procedure may be established in an e-discovery order that provides for
                                        24 production without prior privilege review. Pursuant to Federal Rule of Evidence
                                        25 502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
                                        26 of a communication or information covered by the attorney-client privilege or
                                        27 work product protection, the parties may incorporate their agreement in the
                                        28 stipulated protective order submitted to the court.

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                                         1 12.        MISCELLANEOUS
                                         2            12.1 Right to Further Relief. Nothing in this Order abridges the right of any
                                         3 person to seek its modification by the Court in the future.
                                         4            12.2 Right to Assert Other Objections. By stipulating to the entry of this
                                         5 Protective Order no Party waives any right it otherwise would have to object to
                                         6 disclosing or producing any information or item on any ground not addressed in
                                         7 this Stipulated Protective Order. Similarly, no Party waives any right to object on
                                         8 any ground to use in evidence of any of the material covered by this Protective
                                         9 Order.
                                        10            12.3 Filing Protected Material. A Party that seeks to file under seal any
                                        11 Protected Material must comply with Civil Local Rule 79-5. Protected Material
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                                        12 may only be filed under seal pursuant to a court order authorizing the sealing of the
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                                        13 specific Protected Material at issue. If a Party’s request to file Protected Material
                                        14 under seal is denied by the court, then the Receiving Party may file the information
                                        15 in the public record unless otherwise instructed by the court.
                                        16 13.        FINAL DISPOSITION
                                        17            After the final disposition of this Action, as defined in paragraph 4, within
                                        18 60 days of a written request by the Designating Party, each Receiving Party must
                                        19 return all Protected Material to the Producing Party or destroy such material. As
                                        20 used in this subdivision, “all Protected Material” includes all copies, abstracts,
                                        21 compilations, summaries, and any other format reproducing or capturing any of the
                                        22 Protected Material. Whether the Protected Material is returned or destroyed, the
                                        23 Receiving Party must submit a written certification to the Producing Party (and, if
                                        24 not the same person or entity, to the Designating Party) by the 60 day deadline that
                                        25 (1) identifies (by category, where appropriate) all the Protected Material that was
                                        26 returned or destroyed and (2)affirms that the Receiving Party has not retained any
                                        27 copies, abstracts, compilations, summaries or any other format reproducing or
                                        28 capturing any of the Protected Material. Notwithstanding this provision, Counsel

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                                         1 are entitled to retain an archival copy of all pleadings, motion papers, trial,
                                         2 deposition, and hearing transcripts, legal memoranda, correspondence, deposition
                                         3 and trial exhibits, expert reports, attorney work product, and consultant and expert
                                         4 work product, even if such materials contain Protected Material. Any such archival
                                         5 copies that contain or constitute Protected Material remain subject to this
                                         6 Protective Order as set forth in Section 4 (DURATION).
                                         7 14.        Any violation of this Order may be punished by any and all appropriate
                                         8 measures including, without limitation, contempt proceedings and/or monetary
                                         9 sanctions.
                                        10 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                                        11
                                             DATED: June 26, 2024
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                                        12
       Ballard Spahr LLP




                                        13 /s/ Robert F. Brennan
                                           Attorneys for Plaintiff
                                        14
                                        15 DATED: June 26, 2024
                                        16
                                           /s/ Melanie J. Vartabedian
                                        17 Attorneys for Defendant
                                        18
                                             FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
                                        19
                                        20 DATED: June 28, 2024
                                        21
                                        22
                                        23
                                           Hon. Patricia Donahue
                                        24 United States Magistrate Judge
                                        25
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                                        28

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                                         1                                       EXHIBIT A
                                         2                 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                                         3 I,      ______________________________           [print   or   type   full   name],   of
                                         4 ____________________ [print or type full address], declare under penalty of
                                         5 perjury that I have read in its entirety and understand the Stipulated Protective Order
                                         6 that was issued by the United States District Court for the Central District of
                                         7 California on [date] in the case of ______________ [insert formal name of the case
                                         8 and the number and initials assigned to it by the court]. I agree to comply with
                                         9 and to be bound by all the terms of this Stipulated Protective Order and I understand
                                        10 and acknowledge that failure to so comply could expose me to sanctions and
                                        11 punishment in the nature of contempt. I solemnly promise that I will not disclose in
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                                        12 any manner any information or item that is subject to this Stipulated Protective Order
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                                        13 to any person or entity except in strict compliance with the provisions of this Order.
                                        14 I further agree to submit to the jurisdiction of the United States District Court for the
                                        15 Central District of California for the purpose of enforcing the terms of this Stipulated
                                        16 Protective Order, even if such enforcement proceedings occur after termination of
                                        17 this action. I hereby appoint ______________________ [print or type full name]
                                        18 of ______________________________ [print or type full address and telephone
                                        19 number] as my California agent for service of process in connection with this action
                                        20 or any proceedings related to enforcement of this Stipulated Protective Order.
                                        21 Date: _____________________________________
                                        22 City and State where sworn and signed:
                                        23 ___________________________________
                                        24 Printed name: _________________________________
                                        25 Signature: ____________________________________
                                        26 \\
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                                        28 \\

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                                     Case 2:23-cv-08787-ODW-PD Document 55 Filed 06/28/24 Page 15 of 15 Page ID #:236




                                         1                                   CERTIFICATE OF SERVICE
                                         2
                                                                I hereby certify that on this 26th day of June, 2024, I electronically
                                         3
                                             filed a true and correct copy of the foregoing through the Court’s CM/ECF system,
                                         4
                                             which will send a notice of electronic filing to the following:
                                         5
                                         6
                                         7                                                 /s/ Melanie J. Vartabedian
                                                                                                      Melanie J. Vartabedian
                                         8
                                         9
                                        10
                                        11
Los Angeles, California 90067-2915
2029 Century Park East, Suite 1400




                                        12
       Ballard Spahr LLP




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